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other things, the veracity and credibility of the statements made in Defendants’ summary

judgment papers—in a cross-motion for summary judgment. (Docket Entry No. 40.)

               Plaintiff may file his complete opposition papers to Defendants’ motion for

summary judgment, including any argument not already presented in Plaintiff’s November 4,

2020, memorandum, by December 15, 2020. To the extent Plaintiff seeks to file a cross-motion

for summary judgment, he must also make that motion by December 15, 2020. The stay

imposed by the Court’s Order dated August 27, 2020, is lifted. Chambers will mail a copy of this

Order to Plaintiff.



       SO ORDERED.

Dated: New York, New York
       November 9, 2020
                                                            /s/ Laura Taylor Swain
                                                           LAURA TAYLOR SWAIN
                                                           United States District Judge
Copy mailed to:
Plaintiff John Smith




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